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                                                                          4
                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)               )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                        )
                                                                                                                          )   Case No. C-07-5944-SC
                                                                          9                                               )
                                                                                                                          )   ORDER GRANTING MOTION TO
                                                                         10   This Order Relates To:                      )   COMPEL ARBITRATION
                               For the Northern District of California
United States District Court




                                                                                                                          )
                                                                         11        Case No. 3:14-cv-02510                 )
                                                                                                                          )
                                                                         12        VIEWSONIC CORP.                        )
                                                                                                                          )
                                                                         13                           Plaintiff           )
                                                                                                                          )
                                                                         14              v.                               )
                                                                                                                          )
                                                                         15      CHUNGHWA PICTURE TUBES, LTD.,            )
                                                                              et al,                                      )
                                                                         16                                               )
                                                                                                      Defendants.         )
                                                                         17                                               )
                                                                                                                          )
                                                                         18                                               )
                                                                         19
                                                                         20   I.      INTRODUCTION
                                                                         21           Now before the Court is Panasonic's1 motion to dismiss and
                                                                         22   compel arbitration of Direct Action Plaintiff ViewSonic
                                                                         23   Corporation's claims against Panasonic.            ECF No. 2767 ("Mot.").
                                                                         24   ViewSonic opposes, ECF No. 2867 ("Opp'n"), and Panasonic filed a
                                                                         25   reply, ECF No. 2899 ("Reply").          After briefing was complete,
                                                                         26   ViewSonic sought leave to file a surreply, ECF No. 2916 ("Surreply
                                                                         27   1
                                                                                For simplicity the Court refers to the movants as "Panasonic,"
                                                                         28   although in fact the movants are Panasonic Corporation, Panasonic
                                                                              Corporation of North America, and MT Picture Display Company, Ltd.
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                                                                          1   Mot."), see also ECF No. 2916-2 ("Surreply"), which Panasonic
                                                                          2   opposes, ECF No. 2921 ("Surreply Opp'n").2           Both motions are now
                                                                          3   fully briefed and appropriate for disposition without oral argument
                                                                          4   under Civil Local Rule 7-1(b).          For the reasons set forth below,
                                                                          5   the motion for leave to file a surreply is GRANTED and the motion
                                                                          6   to dismiss and compel arbitration is GRANTED.
                                                                          7
                                                                          8   II.     BACKGROUND
                                                                          9           This is an antitrust case alleging price fixing in the Cathode
                                                                         10   Ray Tube (CRT) market.        ViewSonic is a relatively late entrant to
                               For the Northern District of California
United States District Court




                                                                         11   the case, and filed its complaint in May of 2014.             ViewSonic
                                                                         12   alleges that Panasonic, among several other defendants,
                                                                         13   participated in a price fixing conspiracy in the CRT market between
                                                                         14   March 1, 1995 and November 25, 2007.
                                                                         15           ViewSonic and Panasonic entered into an Original Equipment
                                                                         16   Manufacturer, or OEM, supply agreement in 1999 ("the Agreement").
                                                                         17   ECF No. 2768 ("Hemlock Decl.") at Ex. A ("Agreement").                 In the
                                                                         18   Agreement, the parties agreed to submit to arbitration "[a]ll
                                                                         19   disputes, controversies, claims or differences which may arise
                                                                         20   between the parties, out of or in relation to or in connection with
                                                                         21   this Agreement, or for the breach thereof . . . except as otherwise
                                                                         22
                                                                         23   2
                                                                                Panasonic's arguments against granting leave to file a surreply
                                                                         24   are well taken. The arguments in Panasonic's reply brief simply
                                                                              "respond[ed] to legal arguments made in opposition." Heil Co. v.
                                                                         25   Curotto Can Co., No. 04-cv-1590 MMC, 2004 WL 2600134, at *1 n.1
                                                                              (N.D. Cal. Nov. 16, 2004). Nonetheless, in the interests of
                                                                         26   completeness and judicial efficiency, the Court GRANTS leave to
                                                                              file the surreply. Had ViewSonic not filed its surreply, the Court
                                                                         27   would have simply requested supplemental briefing on the very
                                                                              issues it addressed, therefore there is no reason to deny leave to
                                                                         28   file the surreply only to then request additional briefing on these
                                                                              issues.


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                                                                          1   provided herein."3       Agreement at § 17.3.
                                                                          2           Neither party argues that the Agreement or the arbitration
                                                                          3   clause is invalid.        Instead, both sides disagree over the length of
                                                                          4   time covered by the Agreement and the scope of the arbitration
                                                                          5   clause, as well as whether those issues should be resolved by the
                                                                          6   Court or in arbitration.
                                                                          7
                                                                          8   III. LEGAL STANDARD
                                                                          9           Section 4 of the Federal Arbitration Act ("FAA") permits "a
                                                                         10   party aggrieved by the alleged failure, neglect, or refusal of
                               For the Northern District of California
United States District Court




                                                                         11   another to arbitrate under a written agreement for arbitration [to]
                                                                         12   petition any United States district court . . . for any order
                                                                         13   directing that . . . arbitration proceed in the manner provided for
                                                                         14   in [the arbitration] agreement."          9 U.S.C. § 4.
                                                                         15           The FAA embodies a policy that generally favors arbitration
                                                                         16   agreements.      Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp.,
                                                                         17   460 U.S. 1, 24-25 (1983).         Federal courts must enforce arbitration
                                                                         18
                                                                              3
                                                                         19     The Court notes that the Agreement along with numerous other
                                                                              portions of the parties' submission have been filed under seal.
                                                                         20   While the Court has previously expressed a liberal attitude toward
                                                                              motions for leave to file under seal in this matter, citing the
                                                                         21   enormous administrative burden that would be required if the Court
                                                                              were to review and closely analyze every claim of sealability, see
                                                                         22   ECF No. 1512, some of the parties' submissions on this motion,
                                                                              particularly ViewSonic's, stretch the bounds of even that leeway.
                                                                         23   For instance, the Court cannot imagine any reason why the words
                                                                              "arbitration clause" would be sealable or why the existence of an
                                                                         24   arbitration clause should be treated as confidential given that
                                                                              this is quite obviously a motion to compel arbitration. See Opp'n
                                                                         25   at 2:15, 2:23. Furthermore, even sealing the entire text of the
                                                                              arbitration clause seems overly broad given that (1) the terms of
                                                                         26   the arbitration clause itself are largely unremarkable boilerplate,
                                                                              and (2) the Court has to analyze the text of the clause in the
                                                                         27   context of the motion anyway. In short, the Court wishes to
                                                                              reminds the parties that while the Court has taken a liberal
                                                                         28   attitude towards motions to file under seal thus far, that leeway
                                                                              should not be abused.


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                                                                          1   agreements rigorously.     See Hall St. Assoc., L.L.C. v. Mattel,
                                                                          2   Inc., 552 U.S. 576, 581 (2008).       Courts must also resolve any
                                                                          3   "ambiguities as to the scope of the arbitration clause itself . . .
                                                                          4   in favor of arbitration."      Volt Info. Scis., Inc. v. Bd. of Trs. of
                                                                          5   Leland Stanford Jr. Univ., 489 U.S. 468, 476 (1989).          These
                                                                          6   policies all "appl[y] with special force in the field of
                                                                          7   international commerce."      Mitsubishi Motors Corp. v. Soler
                                                                          8   Chrysler-Plymouth, Inc., 473 U.S. 614, 631 (1985).
                                                                          9
                                                                         10   IV.   DISCUSSION
                               For the Northern District of California
United States District Court




                                                                         11         The parties agree that the Agreement and the arbitration
                                                                         12   clause are valid and cover at least some set of ViewSonic's claims.
                                                                         13   The remaining issues relate to the scope and interpretation of the
                                                                         14   Agreement, and the threshold question of whether those scope and
                                                                         15   interpretation issues should be resolved by the Court or in
                                                                         16   arbitration.
                                                                         17         Borrowing somewhat from the Supreme Court's rubric in First
                                                                         18   Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 942 (1995), the
                                                                         19   parties have three types of disagreements in this case.             First,
                                                                         20   ViewSonic and Panasonic disagree about whether Panasonic is liable
                                                                         21   to ViewSonic for price fixing in the CRT market.          "That
                                                                         22   disagreement makes up the merits of the dispute."          Id. (emphasis
                                                                         23   omitted).   Second, they disagree about what portion of the merits
                                                                         24   they agreed to arbitrate.      In arbitration parlance, this is a
                                                                         25   disagreement about the "arbitrability" of the dispute.              Id.
                                                                         26   (emphasis omitted).     Finally, they disagree about whether the Court
                                                                         27   or the arbitrator has the power to decide the second matter.              In
                                                                         28   other words, who decides how much of this dispute the parties



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                                                                          1   agreed to arbitrate, the Court or the arbitrator?          This is
                                                                          2   sometimes referred to as "jurisdiction to determine arbitrability."
                                                                          3   See Goldman, Sachs & Co. v. City of Reno, 747 F.3d 733, 738 (9th
                                                                          4   Cir. 2014).
                                                                          5        Because the Court finds the arbitrator and not the Court has
                                                                          6   jurisdiction to determine arbitrability, the Court only addresses
                                                                          7   that point.
                                                                          8        A.    Jurisdiction to Determine Arbitrability
                                                                          9        "Both the arbitrability of the merits of a dispute and the
                                                                         10   question of who has the primary power to decide arbitrability
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                                                                         11   depend on the agreement of the parties."        Goldman, Sachs, 747 F.3d
                                                                         12   at 738 (citing First Options, 514 U.S. at 943).          However, "unlike
                                                                         13   the arbitrability of claims in general, whether the court or the
                                                                         14   arbitrator decides arbitrability is 'an issue for judicial
                                                                         15   determination unless the parties clearly and unmistakably provide
                                                                         16   otherwise.'"   Oracle Am., Inc. v. Myriad Grp. A.G., 724 F.3d 1069,
                                                                         17   1072 (9th Cir. 2013) (quoting Howsam v. Dean Witter Reynolds, Inc.,
                                                                         18   537 U.S. 79, 83 (2002)) (emphasis in original).          The rule seeks to
                                                                         19   avoid "forc[ing] unwilling parties to arbitrate a matter they
                                                                         20   reasonably would have thought a judge, not an arbitrator, would
                                                                         21   decide.   First Options, 514 U.S. at 945 (citing United Steelworkers
                                                                         22   v. Warrior & Gulf Navigation Co., 363 U.S. 574, 583 (1960)).
                                                                         23        Panasonic makes two arguments in favor of leaving the question
                                                                         24   of arbitrability to the arbitration panel.         First, Panasonic points
                                                                         25   to cases suggesting that "as a matter of federal law, any doubts
                                                                         26   concerning the scope of arbitral issues should be resolved in favor
                                                                         27   of arbitration, whether the problem at hand is the construction of
                                                                         28   contract language itself . . . or a like defense to arbitrability."



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                                                                          1   Second, Panasonic argues that the arbitration clause's references
                                                                          2   to the rules of procedure of the American Arbitration Association's
                                                                          3   ("AAA") and the Japan Commercial Arbitration Association
                                                                          4   ("JCAA") -- rules that (in Panasonic's view) expressly provide for
                                                                          5   arbitrators to decide arbitrability -- indicate the parties
                                                                          6   unmistakably intended the arbitrators, not the Court to decide
                                                                          7   arbitrability.
                                                                          8        Panasonic's first argument is a non-starter.          For the most
                                                                          9   part, Panasonic misses or ignores the applicable case law and
                                                                         10   instead seizes on a few out-of-context passages from cases that do
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                                                                         11   not address the question of who decides arbitrability.              Instead,
                                                                         12   the rule is clear: unless the parties clearly and unmistakably
                                                                         13   provide otherwise, the Court decides who determines questions of
                                                                         14   arbitrability.    See Goldman, Sachs, 747 F.3d at 738.        As a result,
                                                                         15   Panasonic's points about the Court "ignor[ing] the Arbitration Act
                                                                         16   and . . . 'becom[ing] entangled in the construction' of the OEM
                                                                         17   Agreement," Reply at 2, are entirely misplaced unless Panasonic
                                                                         18   shows the parties' intent to resolve those questions in
                                                                         19   arbitration.
                                                                         20        Panasonic's second argument, that the reference in the
                                                                         21   arbitration clause to the rules of procedure for the AAA and JCAA
                                                                         22   evince the parties' intent to arbitrate arbitrability, fares far
                                                                         23   better.   Cases hold that "where the parties' agreement to arbitrate
                                                                         24   includes an agreement to follow a particular set of arbitration
                                                                         25   rules -- such as the AAA Rules -- that provide for the arbitrator
                                                                         26   to decide questions of arbitrability, the presumption that courts
                                                                         27   decide arbitrability falls away, and the issue is decided by the
                                                                         28   arbitrator."   Bank of Am., N.A. v. Micheletti Family P'ship, No.



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                                                                          1   08-02902 JSW, 2008 WL 4571245, at *6 (N.D. Cal. Oct. 14, 2008)
                                                                          2   (collecting cases).        The arbitration clause at issue here provides
                                                                          3   that if Panasonic initiates arbitration, it will be governed by the
                                                                          4   AAA rules and take place in California.           If, on the other hand,
                                                                          5   ViewSonic initiates the arbitration, it will be governed by the
                                                                          6   JCAA rules and take place in Osaka, Japan.            As Panasonic points
                                                                          7   out, both the AAA and JCAA rules allow arbitrators to determine
                                                                          8   their own jurisdiction.4
                                                                          9           Nonetheless, ViewSonic raises three arguments to the contrary.
                                                                         10   First, relying on Howsam v. Dean Witter Reynolds, Inc., ViewSonic
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                                                                         11   argues that the question of whether it intended to arbitrate claims
                                                                         12   based on purchases made prior to the March 12, 1999 execution of
                                                                         13   the Agreement is "a gateway dispute about whether the parties are
                                                                         14   bound by a given arbitration clause [that] raises a 'question of
                                                                         15   arbitrability' for a court to decide."           537 U.S. at 84.       This
                                                                         16   argument misses Panasonic's point.           Panasonic is arguing that by
                                                                         17   referring to the AAA and JCAA rules in the arbitration clause, the
                                                                         18   parties clearly and unmistakably indicated that the arbitrator, not
                                                                         19   the Court should resolve questions of arbitrability.             If that is
                                                                         20   true, the result is obvious.         "The question whether the parties
                                                                         21   have submitted a particular dispute to arbitration, i.e., the
                                                                         22   'question of arbitrability,' is 'an issue for judicial
                                                                         23   determination [u]nless the parties clearly and unmistakably provide
                                                                         24
                                                                              4
                                                                         25     AAA Rule 7 states that "[t]he arbitrator shall have the power to
                                                                              rule on his or her own jurisdiction, including any objections with
                                                                         26   respect to the existence, scope, or validity of the arbitration
                                                                              agreement or to the arbitrability of any claim or counterclaim."
                                                                         27   Similarly, JCAA Rule 41 states that "[t]he arbitral tribunal may
                                                                              make a determination on any objection as to the existence or
                                                                         28   validity of an Arbitration Agreement and any other matters
                                                                              regarding its own jurisdiction."


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                                                                          1   otherwise.'"   See id. at 83 (quoting AT&T Techs., Inc. v. Commc'ns
                                                                          2   Workers, 475 U.S. 643, 649 (1986)) (original emphasis omitted and
                                                                          3   emphasis added).    Put another way, only if the Court determines
                                                                          4   that it, and not the arbitrators, has jurisdiction to determine
                                                                          5   what parts of the dispute are arbitrable does the Court actually
                                                                          6   resolve what claims the parties intended to submit to arbitration.
                                                                          7        Second, ViewSonic relies on United Parcel Service v. Lexington
                                                                          8   Insurance Group, No. 12 Civ. 7961 (SAS), 2013 WL 1897777, at *2
                                                                          9   (S.D.N.Y. May 7, 2013), which found that because the parties'
                                                                         10   agreement only incorporated the AAA's procedural rules, there was
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                                                                         11   no clear and unmistakable evidence the parties intended to
                                                                         12   arbitrate arbitrability, because "[t]he primary question of
                                                                         13   arbitrability is a substantive one."        Here, the arbitration clause
                                                                         14   provides that the arbitration will take place "in accordance with
                                                                         15   the rule [sic] of procedure of the [AAA]."         Agreement at § 17.3.
                                                                         16   Admittedly, this clause is less clear than in other cases finding
                                                                         17   intent to arbitrate arbitrability in arbitration clauses that
                                                                         18   incorporated a third party's arbitration rules (including those on
                                                                         19   jurisdiction).    See, e.g., Oracle, 724 F.3d at 1071 (designating
                                                                         20   that the arbitration shall take place "in accordance with the rules
                                                                         21   of the United Nations Commission on International Trade Law
                                                                         22   (UNCITRAL)"); Poponin v. Virtual Pro, Inc., No. C 06-4019 PJH, 2006
                                                                         23   WL 2691418, at *9 (N.D. Cal. Sept. 20, 2006) (addressing an
                                                                         24   agreement that incorporated the rules of the International Chamber
                                                                         25   of Commerce Court of Arbitration).        Further complicating matters,
                                                                         26   as far as the Court can determine, there is no set of exclusively
                                                                         27   "procedural" (or exclusively "substantive") AAA rules.
                                                                         28   Nonetheless, another court has found that Rule 7, which governs



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                                                                          1   jurisdiction to determine arbitrability, is a procedural rule of
                                                                          2   the AAA.   See Citifinancial, Inc. v. Newton, 359 F. Supp. 2d 545,
                                                                          3   551-52 (S.D. Miss. Mar. 4, 2005).         In light of that case and the
                                                                          4   substantial weight of authority finding that incorporating AAA or
                                                                          5   other arbitration rules constitutes "clear and unmistakable"
                                                                          6   evidence of intent to resolve arbitrability before the arbitral
                                                                          7   panel, the Court finds United Parcel Service unpersuasive.          See
                                                                          8   Oracle, 724 F.3d at 1071 ("Virtually every circuit to have
                                                                          9   considered the issue has determined that incorporation of the
                                                                         10   American Arbitration Association's (AAA) arbitration rules
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                                                                         11   constitutes clear and unmistakable evidence that the parties agreed
                                                                         12   to arbitrate arbitrability.") (collecting cases).
                                                                         13        Finally, ViewSonic argues that the relevant AAA rule, Rule 7,
                                                                         14   only came into existence in 2000, after the Agreement was executed.
                                                                         15   As a result, ViewSonic believes it would be inappropriate to infer
                                                                         16   any intent to arbitrate arbitrability from the parties' arbitration
                                                                         17   clause.    See Yahoo! Inc. v. Iversen, 836 F. Supp. 2d 1007, 1011-12
                                                                         18   (N.D. Cal. 2011) (discussing the rules in effect when the parties
                                                                         19   entered into their agreement).       In support of this proposition,
                                                                         20   ViewSonic cites Gilbert Street Developers, LLC v. La Quinta Homes,
                                                                         21   LLC, 174 Cal. App. 4th 1185 (Cal. Ct. App. 2009), which stated that
                                                                         22   "in 1998 . . . the American Arbitration Association had no rule
                                                                         23   providing that arbitrators had jurisdiction to rule on their own
                                                                         24   jurisdiction.    However, in September 2000, the American Arbitration
                                                                         25   Association adopted a new rule, R-8(a), that provided arbitrators
                                                                         26   could rule on their own jurisdiction."        Id. at 1187-88 (citing
                                                                         27   Hasbro, Inc. v. Amron, 419 F. Supp. 2d 678, 685 (E.D. Pa. 2006)).
                                                                         28   For whatever reason, the Gilbert Street Court was mistaken about



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                                                                          1   those facts.   As Panasonic points out, providing copies of the
                                                                          2   relevant rules, the precursor to Rule 7 was in effect as of at
                                                                          3   least January 1, 1999 -- prior to the execution of the Agreement.
                                                                          4   See ECF No. 2921-1 ("Supp. Hemlock Decl.") at Exs. A-B.             As a
                                                                          5   result, there is no temporal issue with concluding that the
                                                                          6   parties' decision to incorporate the AAA and JCAA rules reflected
                                                                          7   their intent to arbitrate questions of arbitrability.
                                                                          8        Because ViewSonic's arguments are unavailing, the Court finds
                                                                          9   that jurisdiction to determine arbitrability lies with the
                                                                         10   arbitrator.
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                                                                         11
                                                                         12   V.   CONCLUSION
                                                                         13        Accordingly, the Court finds that by incorporating the rules
                                                                         14   of procedure of the AAA and JCAA, the parties "clearly and
                                                                         15   unmistakably" provided for arbitration of arbitrability, and as a
                                                                         16   result Panasonic's motion is GRANTED.       Furthermore, because the
                                                                         17   Court lacks jurisdiction to determine arbitrability, and the
                                                                         18   parties agreed to resolve such issues before the arbitrators and
                                                                         19   pursuant to the AAA or JCAA rules, the Court lacks jurisdiction
                                                                         20   even to sever ViewSonic's claims against the co-conspirators from
                                                                         21   its claims against Panasonic.      See Reply at 6 n.3.      As a result,
                                                                         22   the Court DISMISSES ViewSonic's complaint WITHOUT PREJUDICE, and
                                                                         23   leaves those questions to the arbitrators.
                                                                         24
                                                                         25        IT IS SO ORDERED.
                                                                         26
                                                                         27        Dated: December 18, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                                         28



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